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                           Susman Godfrey l.l.p.
                                 a registered limited liability partnership




                                        November 21, 2024
VIA ECF
Hon. Ona T. Wang
Daniel Patrick Moynihan
United States Courthouse
500 Pearl St.
New York, NY 10007
Re:     Authors Guild v. OpenAI Inc., 23-cv-8292 (S.D.N.Y.) and Alter v. OpenAI Inc., 23-cv-
        10211 (S.D.N.Y.): OpenAI’s Motion for Assistant, Loan-Out Company, Agent, and
        Publisher Discovery

Dear Magistrate Judge Wang:

        Plaintiffs respond to OpenAI’s letter-motion, dated November 18, 2024 (Dkt. 264)
(“Letter”), seeking to compel discovery in response to seven requests from Plaintiffs’ agents,
assistants, publishers, and loan-out companies. Aside from its failure to exhaust the meet and
confer process, OpenAI’s Letter should be denied for three reasons: (A) Plaintiffs already agreed
to produce responsive documents; (B) Plaintiffs are willing to make certain limited requests to
agents and publishers; and (C) OpenAI has offered no authority nor explanation to support any
further collection from these ancillary entities.

A.      Plaintiffs Already Agreed to Produce Responsive Documents.

        OpenAI’s account of what Plaintiffs have previously agreed to is simply incorrect.

         First, as the exhibits to OpenAI’s own Letter plainly demonstrate, Plaintiffs did not
“initially refus[e] to produce any discovery related to harm to Plaintiffs’ traditional market in
connection with the above-referenced RFPs.” Dkt. 264 at 2. In response to RFP No. 5, which
requests “All Documents and Communications relating to OpenAI’s alleged use of Your
Copyrighted Works,” Plaintiffs stated: “Plaintiff will search for and produce responsive non-
privileged documents, if any exist.” Dkt. 264-1 at 4. In response to RFP No. 37, which requests,
“All Documents and Communications relating to attempts to license Your Asserted Works,”
Plaintiffs similarly stated: “Plaintiff first acknowledges that it has already agreed to produce
documents responsive to this Request in its Response to Defendant’s First Set of Requests for
Production and refers Defendant to those responses. Notwithstanding, Plaintiff is willing to meet
and confer to discuss any non-duplicative documents that may be responsive to this Request.” Dkt.
264-2 at 4.

      Second, Plaintiffs have also agreed to produce documents in response to several other
“harm” and “market-related” requests from OpenAI. For example, in response to OpenAI’s RFP
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No. 21, the Authors Guild stated that they would produce non-privileged documents “relating to
any injury or harm” arising from OpenAI’s conduct. In addition, in response to OpenAI’s RFP No.
34, the Non-Fiction Plaintiffs reiterated that Plaintiffs have already agreed to produce documents
“relating to any injury or harm.”

        Third, despite Plaintiffs’ concerns about overbreadth and undue burden, Plaintiffs have
also recently agreed to produce documents and communications reflecting any valuation or market
analysis of the works at issue in this case, including, but not limited to: revenue reports; market
performance reports in both traditional and potential markets; market and valuation research and
studies; documents and communications with licensing counterparties reflecting licensing
negotiations for the works; and documents sufficient to identify each work that Plaintiffs contend
both (i) was generated using any GPT Service, and (ii) competes in the market for the works. The
review and production of these documents is ongoing.

        Fourth, Plaintiffs agreement to produce the documents described above has never been
limited to “the individual Plaintiffs’ personal files.” At the start of discovery, Plaintiffs conducted
comprehensive interviews of each individual class representative to determine all potential sources
in their possession, custody, and control. As a result of this comprehensive process, Plaintiffs
collected and have been reviewing documents from numerous business and administrative
accounts that the Plaintiffs have access to. This includes, among others, business accounts from
George Saunders and Roxana Robinson.

B.     Plaintiffs Are Willing to Request Certain Documents From Agents and Publishers.

        OpenAI has never asked Plaintiffs for the specific relief it seeks from the Court in the
Letter. It was Plaintiffs who first proposed, on November 18, approaching agents and publishers
with a reasonable set of requests for documents. OpenAI never responded to that request and has
only demanded that Plaintiffs agree to collect documents from their literary agents, assistants,
publishers, and loan-out companies for all 75 requests for production, most of which have nothing
to do with these ancillary individuals and entities. For example, some of these 75 requests relate
to individual class representative’s personal use of artificial intelligence or the individual class
representative’s involvement in litigation. The instant letter-motion requests something different
than OpenAI ever requested in any meet and confer: OpenAI now requests for Plaintiffs to ask
only about seven particular requests. While Plaintiffs appreciate that OpenAI now acknowledges
the overbreadth and undue burden of their initial requests, it is wholly improper for OpenAI to
make its new request in the first instance to the Court.

       Upon receiving OpenAI’s Letter-Motion (and requested relief) for the first time late
Monday night, Plaintiffs’ counsel promptly contacted all 28 individual class representatives on
Tuesday morning to determine whether a resolution could be reached regarding OpenAI’s
narrowed requests. Although counsel has not yet received confirmation from all class
representatives, the response from most class representatives is that their assistants and loan-out
companies do not have documents responsive to these seven requests that are not already in the
individual class representatives’ possession. Indeed, Plaintiffs’ current collection of documents
already includes files from assistant accounts and loan-out companies. Many individual class
representatives also believe it is very unlikely that their agents and publishers will have responsive
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documents that are not already in their possession. However, in an effort to compromise, Plaintiffs
are willing to make a request to their agents and publishers for a clearly defined list of documents
related to these seven requests that Plaintiffs’ counsel could negotiate with OpenAI’s counsel.

C.     There is No Basis to Support Any Further Collection of Documents from Plaintiffs’
       Agents, Assistants, Publishers, and Loan-Out Companies.

        To the extent OpenAI is seeking any further relief from the Court, such as a complete ESI
collection from every agent and publisher to collect every potentially responsive email
communication, there is no legal or factual basis to do so.

        First, OpenAI has cited to no authority that suggests, much less states, that an author has
possession, custody, or control over their agent or publisher’s emails or other ESI communications.
OpenAI’s principal authority on the discoverability of an agent’s documents narrowly held that a
defendant was required to collect “certain bank records,” not “all documents and communications”
related to said records like the request at issue here would require. See Mirlis v. Greer, 80 F.4th
377, 382 (2d Cir. 2023).

        Second, contrary to OpenAI’s presumption that Plaintiffs’ “publishing agreements show…
that they do have the right to obtain exactly what OpenAI seeks,” Dkt. 264 at 3, Plaintiffs’
publishing agreements do not give Plaintiffs this right and Plaintiffs are unaware of any other basis
that they would have to make such a demand for documents from their agents or publishers. That
OpenAI fails to cite even one of the 70+ publishing agreements produced only confirms that the
publishing agreements do not say what OpenAI claims they do.

        Third, Defendants’ contention that the parties’ outstanding subpoenas to publishers are
irrelevant is incorrect. For starters, contrary to OpenAI’s misrepresentation, Plaintiffs did
subpoena their publishers for documents “related to their own works from their own publishers.”
Dkt. 264 at 2. For example, among other requests, Plaintiffs’ publisher subpoenas requested:
“Text-searchable copies of the final, as-published version” of the class representative’s own work
being asserted in this case. See, e. g., Ex. 1 at 7. Similarly, Plaintiffs requested, “Documents
sufficient to demonstrate the BISAC code for each work detailed in Exhibit 1.” See id. Plaintiffs
made these requests to expedite the production of relevant documents in the case, and to date have
obtained—and produced to the Defendants—over 800 documents from publishers.

        Finally, OpenAI’s letter-motion should be denied because it is largely moot. As discussed
above, based on Plaintiffs’ counsel’s conversations with the individual class representatives,
Plaintiffs are not aware of any substantive documents and/or communications responsive to these
requests that are not already in the individual class representative’s possession, custody, or control.
Any potential concern about Plaintiffs’ production should only be addressed once OpenAI has
received the forthcoming production.

       For these reasons, OpenAI’s Letter should be denied.
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                                           Sincerely,

LIEFF CABRASER HEIMANN            SUSMAN GODFREY LLP           COWAN, DEBAETS,
& BERNSTEINS LLP                                               ABRAHAMS & SHEPPARD
                                                               LLP

/s/ Rachel Geman                  /s/ Rohit Nath               /s/ Scott J. Sholder
Rachel Geman                      Rohit Nath                   Scott J. Sholder



cc:     All Counsel of Record via the Court’s ECF System
